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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________
KATHY KINNIN,
                                                        1:19-cv-629
                        Plaintiff,                      (GLS/TWD)

                 v.

SKIDMORE COLLEGE,

                   Defendant.
________________________________
APPEARANCES:                     OF COUNSEL:

FOR THE PLAINTIFF:
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Gary L. Sharpe
Senior District Judge

                MEMORANDUM-DECISION AND ORDER

                               I. Introduction
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       Plaintiff Kathy Kinnin commenced this action against defendant

Skidmore College, alleging employment discrimination and retaliation in

violation of Title VII of the Civil Rights Act of 1964. 1 (Compl., Dkt. No. 1.)

Now pending are Skidmore’s motion for summary judgment, (Dkt. No. 41),

and to preclude expert testimony, (Dkt. No. 42). For the reasons that

follow, Skidmore’s motion for summary judgment is granted2 and its motion

to preclude expert testimony is denied as moot.3




        1
            See 42 U.S.C. §§ 2000e-2000e-17.
        2
            Kinnin also brought a Title IX nepotism claim, however, she did not respond to
 Skidmore’s arguments for summary judgment on this claim (Dkt. No. 45.) “When a
 non-movant fails to oppose a legal argument asserted by a movant, the movant may succeed
 on the argument by showing that the argument possess facial merit, which has appropriately
 been characterized as a ‘modest’ burden.” Rehkugler v. Aetna Life Ins. Co., No. 516-CV-
 0024, 2017 WL 3016835, at *13 (N.D.N.Y. July 14, 2017) (citing N.D.N.Y. L.R. 7.1(b)(3) (other
 citations omitted)). While Skidmore’s contention that summary judgment should be granted
 because there is no private right of action for gender discrimination under Title IX no longer
 has merit, see Vengalatorre v. Cornell University, 36 F.4th 87, 106 (2d. Cir. 2022), Skidmore’s
 alternative argument regarding the absence of a viable nepotism claim under Title IX has facial
 merit. (Dkt. No. 41, Attach. 5, at 30-32.) Thus, Skidmore has met its lightened burden and
 Skidmore’s motion for summary judgment with respect Kinnin’s nepotism claim is granted.
        3
          Because Skidmore’s motion for summary judgment has been granted on all claims,
 Skidmore’s motion to preclude Kinnin’s expert testimony and expert report, (Dkt. No. 42), is
 denied as moot. See Kandt v. Taser Intern., Inc., No. 5:09-CV-0507, 2012 WL 2861583, at * 5
 (N.D.N.Y. Jul. 10, 2012) (denying motions to preclude expert testimony as moot after granting
 summary judgment on all claims.)

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                                     II. Background

A.     Facts4

       Skidmore is a private college in Saratoga Springs, New York. (Def.’s

Statement of Material Facts (SMF) ¶ 1, Dkt. No. 41, Attach. 1.) Kinnin was

an employee in Skidmore’s Information Technology (IT) Department from

2010 until her termination in 2018. (Id. ¶ 2.) When Kinnin was first hired

as a Mac computer technician, her direct supervisor was Tom Marcotte,

Director of User Services. (Id. ¶¶ 3, 5.) In 2014, Marcotte was promoted

from Director of User Services to Director of IT Planning and Strategic

Communications and Kinnin replaced him as Director of User Services.

(Id. ¶ 6.) In her new position, Kinnin reported to Chief Technology Officer

William Duffy, and no longer reported to Marcotte. (Id.)

       After Kinnin’s promotion, problems arose between Kinnin and two

different employees: Chris Bailey and Leon Briggs. Bailey was hired in

September 2014 as a media technician. (Id. ¶ 23.) Kinnin complained

about Bailey to Duffy in February 2015, citing, among other things, his



        4
           Because Kinnin disputes portions of various paragraphs in Skidmore’s statement of
 material facts, to the extent the court cites to one of these paragraphs, it is citing to an
 undisputed portion thereof.


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aggressive behavior and an instance where Bailey grabbed Kinnin by the

arm “as if to guide [her].” (Id. ¶¶ 24-25; Dkt. No. 45, Attach. 4; Dkt. No. 45,

Attach 5.) Kinnin continued to communicate her problems with Bailey to

Duffy, who encouraged Kinnin to speak with Skidmore’s Human Resources

(HR) Department. (Def.’s SMF ¶ 26.) Kinnin met with a representative

from HR in August 2015 and again in October 2015 about her complaints

regarding Bailey’s behavior. (Id. ¶¶ 26, 29.) Duffy and Barbra Beck from

HR informed Kinnin that Duffy was meeting with Bailey every two to three

weeks to address his behavior, however, Kinnin asserts that no m ore than

one of these meetings between Duffy and Bailey occurred. (Id. ¶¶ 28-29;

Pl.’s SMF ¶¶ 28-29.) Bailey resigned on November 11, 2015, after it was

discovered that he had falsified travel reimbursements. (Def.’s SMF ¶ 34.)

      After Kinnin’s promotion to director, Skidmore had an opening for a

Mac technician. (Id. ¶ 16.) Marcotte recommended his friend, Briggs, for

the position. (Id.) Briggs was hired even though he did not have

experience working with Mac computers. (Id. ¶¶ 16-17.) Kinnin was

Briggs’ supervisor. (Dkt. No. 45, Attach. 14 ¶¶ 13-14.) Kinnin and Briggs

often “butted heads” and Kinnin described having “great difficulty with

Briggs as an employee” and believed that Briggs could not overcome his

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lack of Mac experience. (Def.’s SMF ¶ 19; Dkt. No. 45, Attach. 14 ¶ 13.)

In 2017, Kinnin was planning to give Briggs a “needs improvement”

performance evaluation, which would have resulted in Briggs not receiving

a raise, however, Duffy changed Briggs’ evaluation to satisfactory. (Def.’s

SMF ¶¶ 20-21.) Skidmore’s reasoning for Duffy overriding Kinnin’s review

was that the college wanted to limit the amount of “needs improvement”

evaluations across campus. (Id. ¶¶ 21-22.)

       From 2015 to 2018, Kinnin made numerous complaints about

Marcotte and the way the IT Department way being run, which she

communicated to Duffy, the HR department, and other senior staff. (Dkt.

No. 41, Attach. 4, at 854-58, 871-82. 5) In an e-mail to Duffy in June 2017,

Kinnin claimed Marcotte’s conduct was harassment. (Dkt. No. 45, Attach.

15 at 135-36.) Duffy shared this e-mail with Marcotte, who disputed these

allegations (Id.) Marcotte then suggested to Duffy that Kinnin should be

investigated for performing unauthorized tasks, and provided Duffy with a

list of critiques to include in Kinnin’s 2018 performance evaluation. (Id. at

132-34.)


        5
            Where page numbers are generated by CM/ECF, the Court's electronic filing
 system, citations to filings refer to these generated page numbers.

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      At some point while working under Kinnin, Briggs told another IT

employee, Christopher Breslin, that he was trying to get Kinnin fired. (Dkt.

No. 45, Attach. 30, at 15.) Briggs and Marcotte frequently met in

Marcotte’s office during the workday with the door closed. (Dkt. No. 45,

Attach. 27 at 36-37; Dkt. No. 45, Attach. 36 at 28.) In spring 2018, Kinnin

observed that Briggs was not performing tasks as she instructed him,

which caused Kinnin to believe that Briggs was conspiring with M arcotte

“to make it seem like [Kinnin] was not managing [Briggs] properly” by

having Briggs intentionally sabotage his work. (Def.’s SMF ¶¶ 126-27.)

While Kinnin never heard any conversation or saw any docum ent to

suggest Marcotte and Briggs had done so, she believed they were

conspiring against her because of their frequent meetings behind closed

doors. (Id. ¶ 128.)

      Briggs met with Gretchen Steffan in the HR Department in March

2018, where they discussed Kinnin’s treatment of Briggs. (Def.’s SMF          ¶

92.) On May 15, 2018, Steffan drafted a complaint alleging race

discrimination on behalf of Briggs against Kinnin. (Id.) Skidmore hired a

third-party investigator, Diane Pfadenhauer, a fifteen-year hum an

resources professional, to handle Briggs’ complaint. (Id. ¶¶ 93-95.) Kinnin

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filed a formal written complaint alleging gender discrimination by Marcotte

on May 30, 2018. (Id. ¶ 98.) Skidmore directed Pfadenhauer to

investigate Kinnin’s complaint in addition to Briggs’ complaint. (Id. ¶ 97.)

Pfadenahuer interviewed twenty-six people and reviewed over 200

documents sent by Kinnin as a part of her investigation. (Id. ¶ 104.) At the

conclusion of the investigation, Pfadenhauer issued a report with her

findings. (Id. ¶ 107.) Pfadenhauer determined that whether Kinnin’s

treatment of Briggs was race-based was inconclusive, but found that

Kinnin “has a history of subjecting certain . . . employees to her wrath for

unknown reasons. This wrath includes painstaking micromanagement,

intense criticism of work and tasks, assignment of menial responsibilities,

etc., until the individual either resigns or is terminated.” (Dkt. No. 47,

Attach. 2 at 5-6.) Pfadenhauer also concluded that Kinnin had not been

subjected to gender discrimination. (Def.’s SMF ¶ 110; Dkt. No. 47,

Attach. 2 at 24.) Based on the report, Michael West, Skidmore’s Vice

President of Finance, decided to terminate Kinnin’s employment on the

basis of poor performance and poor management skills. (Def.’s SMF              ¶

112.)

        In her formal written complaint, Kinnin alleged that she was subjected

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to harassment, a hostile work environment, and misogyny at the hands of

Marcotte, and that Duffy “supprt[ed] and encourag[ed] [Marcotte’s]

behavior by not addressing it directly.” (Dkt. No. 41, Attach. 4 at 854.)

Additionally, Kinnin complained about the reporting process at Skidmore,

because her complaints of harassment were not seriously investigated, the

HR department and her supervisors were not always responsive to her

complaints, and information she reported was not kept confidential,

referring to the system as “extremely flawed.” (Id. at 854-58.) Kinnin also

claimed that Briggs’ complaint against her was “retaliatory” and “additional

harassment orchestrated by . . . Marcotte.” (Id. at 858.)

B.    Procedural History

      Kinnin filed a charge of discrimination with the U.S. Equal

Employment Opportunity Commission (EEOC). (Def.’s SMF ¶ 116.) The

EEOC dismissed Kinnin’s charge without investigation and issued a notice

of the right to sue. (Id. ¶ 117.) Kinnin thereafter commenced this action.

(Compl., Dkt. No. 1.) Skidmore now seeks summary judgment on all of

Kinnin’s claims and has moved to preclude the expert testimony and report

of Kinnin’s expert witness. (Dkt. Nos. 41, 42.)



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                          III. Standard of Review

      The standard of review under Fed. R. Civ. P. 56 is well settled and

will not be repeated here. For a full discussion of the governing standard,

the court refers the parties to its prior decision in Wagner v. Swarts, 827 F.

Supp. 2d 85, 92 (N.D.N.Y. 2011), aff’d sub nom. Wagner v. Sprague, 489

F. App’x 500 (2d Cir. 2012).

                               IV. Discussion

A.    Title VII Discrimination

      Skidmore argues that Kinnin has failed to demonstrate that she was

discriminated against. (Dkt.     No. 41, Attach. 5, at 25-27.) Skidmore also

asserts the Kinnin was fired for a legitimate non-discriminatory reason and

that she is unable to demonstrate pretext. (Id. at 29.) Kinnin asserts that

she has established a prima facie case under Title VII because Skidmore

“consistently defend[s] the unacceptable behavior of its male employees . .

. rather than . . . supporting its [female] manager.” (Dkt. No. 45 at 25-29.)

Specifically, Kinnin contends that she was treated less favorably than other

male employees in the IT Department and that Marcotte was given

preferential treatment throughout Pfadenhauer’s investigation. (Id. at 26-

27.) Kinnin also raises the “cat’s paw” theory of liability, contending that

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 her termination was pretext to discrimination because the Pfadenhauer

 investigation was heavily influenced by Marcotte and that the report was

 simply “rubber-stamped” by West. (Id. at 34-35.) Additionally, Kinnin

 maintains that she was not a poor manager and that she had “a fine

 relationship with all employees except Marcotte and Briggs.” (Id. at 35.)

 The court agrees that Kinnin has established her prima facie case but she

 has failed to demonstrate pretext.

       Claims of gender-based discrimination are analyzed under the three-

 step McDonnell Douglas burden-shifting framework. See Walsh v. N.Y.C.

 Hous. Auth., 828 F.3d 70, 75 (2d Cir. 2016) (citing McDonnell Douglas

 Corp. v. Green, 411 U.S. 792 (2010)). First, the plaintiff must establish a

 prima facie case of discrimination by demonstrating that: “(1) she is a

 member of a protected class; (2) she is qualified for her position; (3) she

 suffered an adverse employment action; and (4) [the adverse action

 occurred under] circumstances [that] give rise to an inference of

 discrimination.” Weinstock v. Columbia Univ., 224 F.3d 33, 42 (2d Cir.

 2000) (citing McDonnell Douglas, 411 U.S. at 802).

       To show that the circumstances surrounding an adverse employment

 action give rise to an inference of discrimination, the plaintiff may point to,


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 among other things, the treatment of similarly situated employees outside

 of her protected class. See McGuinness v. Lincoln Hall, 263 F.3d. 49, 54

 (2d Cir. 2001) (“A showing that the employer treated a similarly situated

 employee differently is a common and especially effective method of

 establishing a prima facie case of discrimination.”) (internal quotations and

 citations omitted). The plaintiff is not required to show she was treated

 less favorably than an identically situated male employee; instead, she

 must show she was treated less favorably than a male employee who was

 similarly situated in all material aspects. See McGinness, 263 F.3d at 54

 (citing Shumway v. United Parcel Serv., Inc., 118 F.3d 60, 64 (2d Cir.

 1997)). Generally, whether employees are similarly situated is a question

 of fact for a jury, but the court “may grant summary judgment in a

 defendant’s favor on the basis of lack of similarity of situation . . . where no

 reasonable jury could find that the persons to whom the plaintiff compares

 [herself] are similarly situated.” Clubside, Inc. v. Valentin, 468 F.3d 144,

 159 (2d Cir. 2006) (citations omitted).

       If the plaintiff establishes a prima facie case of discrimination, the

 employer must demonstrate a legitimate, non-discriminatory reason for the

 adverse employment decision. See McDonnell Douglas, 411 U.S. at 802.


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 If the employer provides such a reason, the burden then shifts back to the

 employee to present evidence that her employer’s proffered reason is a

 pretext for discrimination. See id. at 804-05. At this stage, the plaintiff

 must “show that [her] employer’s proffered reasons . . . were not the only

 reasons [for her termination] and that [discrimination] was at least one of

 the motivating factors.” Holcomb v. Iona Coll., 521 F.3d 130, 138 (2d Cir.

 2008) (internal quotation marks and citations omitted).

       Under the “cat’s paw” theory of liability, an employer may be liable for

 discrimination in an adverse employment decision against an employee

 where the ultimate decision maker is unbiased and has no discriminatory

 motives. See Staub v. Proctor Hosp., 562 U.S. 411, 416 (2011). Under

 this theory, the unlawful motive of a non-decision maker is imputed to the

 decision maker, and employer, where the non-decision maker has some

 significant influence that leads to the adverse employment action. See

 Vasquez v. Empress Ambulance Serv., Inc., 835 F.3d 267, 272 (2d. Cir.

 2016). In order to impute liability on the decision maker for the

 discriminatory or retaliatory motive of another employee, the plaintiff must

 show that the decision maker acted negligently. See id. at 275 (“Only

 when an employer in effect adopts an employee’s unlawful animus by


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 acting negligently with respect to the information provided by the employee

 . . . can the employee’s motivation be imputed to the employer and used to

 support a claim under Title VII.”).

       There appears to be no dispute that Kinnin satisfies the first three

 elements required to make out a prima facie case for discrimination. (Dkt.

 No. 45, at 26 n.4.) With respect to the fourth element, Kinnin has raised a

 possible inference of discrimination in the circumstances surrounding her

 termination. (Dkt. No. 45 at 25-29.) She has presented sufficient evidence

 such that a reasonable jury could find that she was similarly situated to

 Marcotte and treated less favorably than him. (Id.) Kinnin and Marcotte

 were directors in Skidmore’s IT Department and reported to Duffy, and

 both Kinnin and Marcotte received complaints of discrimination against

 them, which were investigated by Pfadenhauer. (Def.’s SMF ¶¶ 6, 92, 97-

 98.) However, Kinnin was terminated at the conclusion of the investigation

 while Marcotte was not. (Id. ¶¶ 112, 115.) Accordingly, Kinnin has

 satisfied the minimal requirements to state a prima facie claim for gender

 discrimination. See McGuinness, 263 F.3d at 54-55 (finding that plaintiff

 established her prima facie case for discrimination by demonstrating that

 she received less severance pay than a male employee with whom she


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 shared a “roughly equal rank”).

       While Kinnin has met her initial burden under the McDonnell Douglas

 framework for her discrimination claim, Skidmore has provided a non-

 discriminatory reason for Kinnin’s termination. (Def.’s SMF ¶ 114.)

 Specifically, Kinnin was terminated because of poor management skills

 and poor performance. Id.; see Varno v. Canfield, 664 F. App’x 63, 65 (2d

 Cir. 2016) (explaining that defendants established a legitimate justification

 by pointing to the fact that plaintiff was terminated for poor performance.)

       Kinnin’s claim fails because she has not presented sufficient

 evidence of pretext. Kinnin has not pointed to any evidence to suggest

 that her gender was at least a motivating factor in West’s decision to

 terminate her. Kinnin attempts to show Skidmore’s justification was

 pretextual by attacking the Pfadenhauer report, which Skidm ore cites to as

 the basis for her termination. (Dkt. No. 45 at 32-35.) Specifically, Kinnin

 alleges that Brigg’s complaint against her was made in bad faith,

 Pfadenhauer was not an independent party but rather heavily influenced by

 Marcotte and afforded preferential treatment to Marcotte during the

 investigation, Pfadenhauer “ignored information provided . . . if it did not

 support a conclusion that Kinnin was a poor manager,” and the report was


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 simply “rubber-stamped” by West. (Id.) Kinnin’s speculative allegations,

 without more, that Briggs’ complaint was made in bad faith and that the

 investigation was just a plot to get her fired are insufficient to defeat

 summary judgment. See DiGirolamo v. MetLife Group, Inc., 494 F. App’x

 120, 121-22 (2d. Cir. 2012) (“Mere conclusory allegations or

 unsubstantiated speculation by the plaintiff will not defeat sum mary

 judgment.”).

       Further, even if Kinnin’s allegations that Briggs’ complaint was filed in

 bad faith, or that Marcotte and Briggs actually plotted to get Kinnin fired

 because of her gender were true, Kinnin still cannot establish pretext under

 the cat’s paw theory. Neither Briggs nor Marcotte had authority to fire

 Kinnin, and she has not shown that Marcotte or Briggs played a meaningful

 role in West’s decision to terminate her, as they were each just one of

 twenty-six people interviewed as a part of the investigation and were not

 involved in any of the discussions West had regarding the conclusions in

 the report. See Jones v. Target Corp., 792 F. App’x 54, 56-57 (2d Cir.

 2019) (finding that, even if the subordinate employee who provided the

 supervisor with the information that lead to plaintiff’s termination had an

 unlawful motive, the employer could not be found liable because the


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 plaintiff failed to show that the employee had any involvement in the

 investigation and decision to terminate the plaintiff); (Def.’s SMF ¶¶ 112-

 13.)

        An additional barrier to Kinnin’s “cat’s paw” theory is the fact that,

 even if Briggs or Marcotte had a discriminatory animus against Kinnin, she

 has not demonstrated that West, the decision maker in her termination,

 acted negligently. West did not blindly credit Briggs’ complaint against

 Kinnin, he relied on the report generated from Pfadenhauer’s investigation,

 which included interviews of twenty-six people and the review of over 200

 documents. (Id. ¶¶ 104, 112.) West also conferred with Steffan and Duffy

 before terminating Kinnin. (Id. ¶¶ 112-13.) West testified that “[I]f [Duffy]

 objected strenuously [to Kinnin’s termination he] would have reconsidered”

 his decision. (Dkt. No. 45, Attach. 26 at 59-60.) Here, there is no

 evidence that West acted negligently in his decision to terminate Kinnin

 based on the conclusions of Pfadenhauer. See Vasquez, 835 F.3d at 276

 (“[A]n employer who, non-negligently and in good faith, relies on a . . .

 report [recommending termination] cannot, under this “cat’s paw” theory,

 be held accountable.”) Thus, Kinnin has not established that Skidm ore’s

 justification for her termination was pretext, because her assertions about


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 the legitimacy of the Pfadenhauer investigation are too speculative and not

 supported by the record, and Kinnin has not provided evidence to suggest

 West had an unlawful animus or was negligent in relying on the

 Pfadenhauer report in his decision to terminate her. (Def.’s SMF ¶ 112.)

 B.     Title VII Retaliation

        Skidmore argues that, because Pfadenhauer was already retained

 to conduct an investigation into Briggs’ complaint against Kinnin before

 Kinnin filed her complaint, and that she would have been terminated

 regardless of whether she filed a complaint based on the Pfadenhauer

 investigation, she cannot establish a causal connection between her

 protected activity and termination. (Dkt. No. 41, Attach. 5, at 28-29.)

 Skidmore further contends that, even if Kinnin has established a prim a

 facie case for retaliation, she cannot show that the justification for her

 termination for poor performance and management was pretext. (Id. at 30-

 31.)

        Kinnin counters that she has established a causal connection

 between her protected activity and her termination because “HR

 understood from day one that [Kinnin] was complaining about

 discrimination against women,” and, thus, she was engaging in protected


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 activity before Briggs filed his complaint against her and Pfadenhauer was

 retained to investigate. (Dkt. No. 45 at 31-32.) Kinnin also asserts that

 there is direct evidence of retaliation because “Marcotte reacted angrily to

 Kinnin’s [June 2017] email” and “accused Kinnin of insubordination,

 sought her investigation, and advocated for the termination of her

 employment.” (Id. at 33.) Kinnin again raises the cat’s paw theory of

 liability, contending that Skidmore’s justification for her termination was

 pretext for retaliation because the Pfadenhauer investigation was

 influenced by Marcotte and that West merely “rubber-stamped” the report.

 (Id. at 34.) Additionally, Kinnin maintains her termination was pretext

 because she was not a poor manager and her relationships with all other

 employees, with the exception of Marcotte and Briggs, were “fine.” (Id. at

 35.)

        Title VII retaliation claims are evaluated under the same three-step

 burden shifting analysis as Title VII discrimination claims. See Hicks v.

 Baines, 593 F.3d 159, 164 (2d Cir. 2010) (citations omitted); see also

 McDonnell Douglas, 411 U.S. at 802-05. First, the plaintiff must establish

 a prima facie case of retaliation by showing that “(1) she was engaged in

 protected activity; (2) the employer was aware of that activity; (3) [she]


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 suffered a materially adverse action; and (4) there was a causal

 connection between the protected activity and that adverse action.” Lore

 v. City of Syracuse, 670 F.3d 127, 157 (2d Cir. 2012). If the plaintiff

 establishes a prima facie case, the burden then shifts to the employer to

 articulate a non-retaliatory rationale for the adverse action. See Cox v.

 Onondaga Cnty. Sheriff’s Dept., 760 F.3d 139, 145 (2d Cir. 2014). “Once

 the employer has done so, the employee may prevail by demonstrating

 that the stated rationale is mere pretext” for retaliation. Id. To

 demonstrate pretext, the employee must show that retaliation was a “but

 for” cause of the adverse employment action. See Univ. of Tex. Sw. Med.

 Ctr. v. Nassar, 570 U.S. 338, 346-47, 360 (2013). In other words, Kinnin

 must show “that the adverse action would not have occurred in the

 absence of the retaliatory motive.” Kwan v. Andalex Grp. LLC, 737 F.3d

 834, 846 (2d Cir. 2013).

       Assuming without deciding that Kinnin satisfies the first three

 elements to establish her prima facie case for retaliation, with respect to

 the fourth element, Kinnin has presented sufficient evidence to establish

 that there was a causal connection between filing her formal complaint

 and her termination. The undisputed facts support a causal connection


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 because Kinnin filed her complaint on May 30, 2018 and she was

 terminated on July 19, 2018, after the conclusion of Pfadenhauer’s

 investigation, less than two months after filing her formal complaint of

 gender discrimination. See Simpson v. N.Y. State Dept. Of Civil Servs.,

 166 F. App’x 499, 502 (2d Cir. 2006) (“[T]he temporal proximity of . . .

 events gives rise to an inference of retaliation for the purposes of

 [establishing a] prima facie case.”); Gorzynski v. JetBlue Airways Corp.,

 596 F.3d 93, 110 (2d Cir. 2010); Risco v. McHugh, 868 F. Supp. 2d 75,

 113 (S.D.N.Y. 2012) (“[T]he less than two-month temporal relationship

 between the protected activity and . . . termination is sufficiently

 proximate to support an inference of causation.”) Therefore, Kinnin has

 established a prima facie case for retaliation.

       Nonetheless, Skidmore has provided a non-retaliatory justification

 for Kinnin’s termination. As previously discussed, Kinnin was terminated

 on the grounds of poor performance and management skills, which is a

 legitimate justification for her termination. See supra Part IV.A; Varno,

 664 F. App’x. at 65.

       Kinnin has failed to present sufficient evidence of pretext with

 respect to her retaliation claim. Kinnin raises the same arguments to


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 rebut Skidmore’s justification under her retaliation claim as she does

 regarding her discrimination claim. (Dkt. No. 45 at 34-35.) As previously

 discussed, Kinnin’s speculative and conclusory allegations about the

 legitimacy of Briggs’ complaint and the independence of the Pfadenhauer

 investigation, without more, are insufficient to defeat a motion for

 summary judgment. See supra Part IV.A. Additionally, Kinnin cannot

 show pretext for retaliation under the cat’s paw theory of liability as she

 has not shown Marcotte, Briggs, or anyone with a retaliatory animus

 against her influenced West’s decision to terminate her, nor has Kinnin

 demonstrated that West acted negligently in relying on Pfadenhauer’s

 report. See id. Thus, for the reasons previously discussed, see supra

 Part IV.A, Kinnin has failed to show that her termination was pretext for

 retaliation.

                                V. Conclusion

       WHEREFORE, for the foregoing reasons, it is hereby

       ORDERED that Skidmore’s motion for summary judgment (Dkt.

 No. 41) is GRANTED; and it is further

       ORDERED that Skidmore’s motion to preclude expert testimony

 (Dkt. No. 42) is DENIED as moot; and it is further


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       ORDERED that the complaint (Dkt. No. 1) is DISMISSED; and it is

 further

       ORDERED that the Clerk is directed to close this case; and it is

 further

       ORDERED that the Clerk provide a copy of this Memorandum-

 Decision and Order to the parties.

 August 1, 2022
 Albany, New York




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